      19-10412-jlg      Doc 2648      Filed 07/08/20 Entered 07/08/20 12:17:39                Deficiency Re:
                                           Petition Uncl. Pg 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                               One Bowling Green
                                            New York, NY 10004−1408


IN RE: Ditech Holding Corporation                          CASE NO.: 19−10412−jlg
aka Walter Investment Management Corp.
Social Security/Taxpayer ID/Employer ID/Other Nos.:        CHAPTER: 11
13−3950486




            DEFICIENCY NOTICE RE: PETITION FOR PAYMENT OF UNCLAIMED FUNDS

The Court is unable to process your Petition for Payment of Unclaimed Funds without additional information.
Within 30 days of the date of this Notice, you must address the following deficiencies:

       CATEGORY OF DEFICIENCY                                           EXPANSION
[x] Other                                         [x] Unclaimed Funds Not Available in Case

More specifically for this particular claim:

        There are no unclaimed funds on deposit with the Bankruptcy Court for this case.


Any further questions should be directed to the Finance Department either in writing or by calling (212) 284−4016
during standard business hours. Should questions arise after hours, please leave a voicemail which includes contact
name, phone number, case number, and a concise summary of the query.

As a reminder, all documentation in support of the claim should be mailed to the address given below:

                                                Finance Department
                                           U.S. Bankruptcy Court, SDNY
                                                 1 Bowling Green
                                            New York, NY 10004−1408


Dated: 7/8/20                                              Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Peter Mazzola

                                                           Deputy Clerk
